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11 Plaintiff in Pro Se

12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14

15
       JOSEPH P. CUVIELLO and DENIZ            Case No. 3:23-cv-01652-VC
16     BOLBOL, individually,
                                               PLAINTIFFS’ PROPOSED JURY
17           Plaintiffs,                       VERDICT FORM

18           v.                                Date: October 21, 2024
19                                             Time: 10:00 a.m.
       ROWELL RANCH RODEO, INC, et al.,        Judge: Hon. Vince Chhabria
20                                             Courtroom: 5, 17th Floor
             Defendants.
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 1 QUESTION ONE: Did Defendants Alameda County through its agent Sheriff Deputy Joshua

 2 Mayfield use a threat, intimidation, or coercion to attempt to interfere with Mr. Cuviello’s free

 3 speech right to demonstrate outside the “free speech area?” See Instruction No. ___ (Bane Act –

 4 Essential Factual Elements (Cal. Civ. Code § 52.1)).

 5

 6                 Answer “Yes” or “No”           Yes            No

 7

 8 Do not make an award of damages. The Judge will determine the amount of damages to be

 9 awarded to Mr. Cuviello if you answered Yes to Question 1.
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                                      PROPOSED JURY INSTRUCTIONS
         Case 3:23-cv-01652-VC Document 153 Filed 10/01/24 Page 3 of 3




 1 QUESTION TWO: Did Defendants Alameda County through its agent Sheriff Deputy Joshua

 2 Mayfield use a threat, intimidation, or coercion to attempt to interfere with Ms. Bolbol’s free

 3 speech right to demonstrate outside the “free speech area?” See Instruction No. ___ (Bane Act –

 4 Essential Factual Elements (Cal. Civ. Code § 52.1)).

 5

 6                 Answer “Yes” or “No”          Yes             No

 7

 8

 9 Do not make an award of damages. The Judge will determine the amount of damages to be
10 awarded to Ms. Bolbol if you answered Yes to Question 2.

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12 Signed: _____________________

13          Presiding Juror
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15 Dated: ______________________

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                                      PROPOSED JURY INSTRUCTIONS
